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CS 20 UNIVERSITY OF PITTSBURGH PROCEDURE (formerly 06-05-01)

CATEGORY:                         HEALTH, SAFETY, AND SEXUAL MISCONDUCT
SECTION:                          Sexual Misconduct and Discrimination
SUBJECT:                          Sexual Misconduct
EFFECTIVE DATE:                   August 14. 2020 Revised
PAGE (S):                         19


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I.    APPLICABILITY: SCOPE AND JURISDICTION

      A. Scope

          This document establishes procedures pertaining to the University’s prohibition against sexual
          misconduct, as set forth in the University of Pittsburgh’s Sexual Misconduct Policy 06-05-01 (the
          “Policy”). All provisions of the Policy are incorporated by reference. Note: this document does not
          apply to the University’s prohibition of “Sexual Harassment” as specifically defined in and
          addressed under Policy CS 27.

          When sexual misconduct occurs, the University will act to end the misconduct, prevent its
          recurrence, and remedy the effects on both individuals and the University community.
          The Policy and this accompanying Procedure shall serve as the only internal University forum of
          resolution and appeal of sexual misconduct complaints for members of the University
          community (except for complaints of Sexual Harassment covered under Policy CS 27 and
          except as otherwise noted in Section IV, Handling Appeals).
          Discrimination which is not either sexual misconduct under this Policy or Sexual Harassment
          under Policy CS 27 is subject to and should be analyzed under the University’s
          Nondiscrimination, Equal Opportunity and Affirmative Action Policy CS 07 (formerly 07-01-03) and
          associated Procedure CS 07 (formerly 07-01-03) or other appropriate policy or procedure.

      B. Jurisdiction

          This Procedure applies to all members of the University community. Please see the University of
          Pittsburgh’s Sexual Misconduct Policy CS 20 (formerly 06-05-01, the “Policy”) for a detailed
          explanation of jurisdiction.

II.   REPORTING SEXUAL MISCONDUCT AND OPTIONS FOR FILING A COMPLAINT

      The University strongly encourages persons who experience sexual misconduct to report the
      misconduct, to seek assistance and to pursue University action for their own protection and that of the
      entire campus community. When an employee learns of alleged sexual misconduct, the Office of Civil
      Rights and Title IX should be informed. The Office of Civil Rights and Title IX is responsible for
      coordinating the sexual misconduct procedure. For a definition of sexual misconduct, please see the
      Policy on Sexual Misconduct 06-05-01.

      Anyone who has experienced sexual misconduct may choose to use this University process as well
      as a criminal process. Choosing not to pursue University or criminal action, however, does not remove
      the responsibility of the University to investigate and/or take action. If pursuing a criminal process,
      please go to www.share.pitt.edu\get-help for information on Emergency Room
      Examination/Preservation of Evidence, as applicable.

      The University intends to resolve complaints of sexual misconduct in a fair and timely manner.
      However, not all reports of sexual misconduct result in a formal complaint or judicial referral. For
      example, some victims seek only support and resources, and do not wish to initiate a complaint.
      Where a complaint is submitted, the University generally attempts to resolve the complaint from the
      filing of a complaint to a determination within sixty (60) days. If the outcome of the complaint is
      appealed, the University then generally attempts to make a timely determination of any appeal.
      However, extenuating or more complex circumstances may preclude the University from resolving a
      complaint within the timeframes stated here.

      The Office of Civil Rights and Title IXwill make a determination as to any reasonable extension of these
      timeframes. Complainants and respondents will be provided periodic updates as to the status of the
      process.




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A. For Victims

   Several options are available if you want to report sexual misconduct or violence:
   1. If a crime may have been committed, you may file a criminal complaint by contacting the Pitt
      Police (412-624-2121 for the Pittsburgh campus; contact information for regional campus
      police departments is listed in Appendix A). You may also call 911 to reach the local police
      bureau or department.
   2. You may file an anonymous complaint on the University of Pittsburgh Police Department
      Web site (www.police.pitt.edu). However, this option greatly limits the University’s ability to
      respond to and investigate the report.
   3. All Pitt students, faculty and staff may file a complaint through the University’s Office of
      Student Conduct if the alleged assailant is a University of Pittsburgh student (412- 648-7910,
      738 William Pitt Union; contact information for regional campus judicial affairs/student
      conduct offices is located in Appendix A). The Student Code of Conduct outlines the steps
      related to filing and processing sexual assault complaints.
   4. You may file a complaint with the University’s Office of Civil Rights and Title IX for
      investigation (412- 648-7860). Individuals on the regional campuses may also file a
      complaint with their local Office of Civil Rights and Title IX Liaison. See Appendix A for
      contact information.
   5. All members of the University community can file anonymous complaints on Pitt Concern
      Connection (800-468-5768 or pi.tt/concern).

   See Appendix A for a list of University and community resources. See
   Appendix B for confidentiality information.

B. For the Accused

   Those accused should know that the initiation of any University proceedings does not preclude
   the possibility of criminal charges. Indeed, parallel University and criminal proceedings are not
   uncommon. In addition to using these processes, the University will continue to engage in
   prevention programs and training for students, faculty, and staff in an effort to prevent sexual
   misconduct, including sexual violence.

   Retaliation against anyone involved in the investigation of alleged incidents of sexual misconduct,
   whether they are the referring individual, a witness, an investigator or anyone else, is prohibited. All
   individuals involved in the investigation process are expected to honor the confidentiality of the
   process and the information involved.

   Reports can be submitted anytime following an incident of sexual misconduct, although the
   University's ability to take action may be limited by the timeliness of the report and by whether the
   alleged respondent is still a member of the University community.

C. For Responsible Employees (Faculty and Staff) or Those Who Learn of Sexual
   Misconduct, including members of the Board of Trustees

   When a responsible employee (as defined in Section VII of the Sexual Misconduct Policy 06-05-
   01, and at http://www.share.pitt.edu/confidentiality) learns of alleged sexual misconduct or
   violence involving a member of the University community, he/she should:
   1. As a responsible employee, you are required to contact the University’s Office of Civil Rights
        and Title IX promptly (https://www.diversity.pitt.edu/civil-rights-title-ix-compliancecontact
        information for regional Title IX Liaisons is located in Appendix A). If you believe there is a risk
        of imminent harm to someone, you should also contact the University Police Department. See
        Appendix A for contact information for each Pitt campus police department. You may also call
        911 to reach the local police bureau or department.
   2. Make the victims aware of their options as listed above in A (“For Victims”).




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          3. Early in the conversation with the victim, explain that you are obligated to report the incident
             to the Office of Civil Rights and Title IX and that you cannot maintain complete
             confidentiality. For further information on confidentiality, see Appendix B.
          4. If the victim wants to talk with someone who can maintain complete confidentiality (other
             than filing a de-identified crime report under the Clery Act), direct the victim to confidential
             resources such as the University Counseling Center at 412-648-7930 or Pittsburgh Action
             Against Rape (PAAR). See Appendix A for a list of University and community resources.
          5. If the victim wants to tell you what happened, but also wants to maintain confidentiality, inform
             the victim that you, as the responsible employee, must report the incident to the Office of Civil
             Rights and Title IX and cannot guarantee that the University will be able to honor the request
             for confidentiality but that the Office of Civil Rights and Title IX will keep the information
             confidential to the extent it is permitted to do so by law and ensure that it is only shared with
             those who have a need to know.
          6. If the victim proceeds, listen empathetically. Encourage, but do not pressure, the victim to
             seek help, counseling or medical assistance if appropriate, and/or to contact the Student
             Conduct Office, the Office of Civil Rights and Title IX or Human Resources. If a crime may
             have been committed, encourage the victim to contact law enforcement so that the situation
             can be addressed and prevented in the future. Ask about any immediate needs of the person.
          7. Provide the victim with information about resources (see Appendix A).

          See Appendix A for a list of University and community resources. See
          Appendix B for confidentiality information.

       D. Reporting For All Others

          1. If you believe a crime may have been committed, you may file a criminal complaint by
             contacting the Pitt Police (412-624-2121 for the Pittsburgh campus; contact information for
             regional campus police departments is located in Appendix A). You may also call 911 to reach
             the local police bureau or department.
          2. You may file an anonymous complaint on the University of Pittsburgh Police Department
             Web site (www.police.pitt.edu). However, this option greatly limits the University’s ability to
             respond to and investigate the report.
          3. All Pitt students, faculty and staff may file a complaint through the University’s Office of
             Student Conduct if the alleged assailant is a University of Pittsburgh student (412- 648-7910,
             738 William Pitt Union; contact information for regional judicial affairs/student conduct offices
             is located in Appendix A). The Student Code of Conduct outlines all steps related to filing and
             processing sexual assault complaints.
          4. You may file a complaint with the University’s Office of Civil Rights and Title IX for
             investigation (412- 648-7860). Individuals on the regional campuses may also file a
             complaint with their local Office of Civil Rights and Title IX. See Appendix A for contact
             information.
          5. All members of the University community can file anonymous complaints on Pitt Concern
             Connection (800-468-5768 or https://www.compliance.pitt.edu/make-report).

          See Appendix A for a list of University and community resources. See
          Appendix B for confidentiality information.

       E. Where The Victim Is a Minor (anyone under the age of 18)

          Anyone affiliated with the University who has reasonable cause to suspect child abuse, including
          but not limited to sexual abuse, shall make an immediate and direct report to ChildLine either
          electronically at www.compass.state.pa.us/cwis or by calling 1-800-932- 0313. Immediately
          thereafter, the individual must also make an immediate and direct report to the University Police
          or the Office of General Counsel. Retaliation is strictly prohibited against anyone who makes a
          good faith report of suspected child abuse or who participates in a related investigation. More
          information on reporting child abuse is available here: http://keepkidssafe.pa.gov/. See also:
          http://www.hr.pitt.edu/protecting- children/faqs

III.   UNDERSTANDING THE INVESTIGATION AND RESOLUTION PROCESSES

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         Once a report of sexual misconduct1 is made, the University will investigate take appropriate action.
         The University's authority to investigate, to compel cooperation, or to impose sanctions against those
         who are not members of the University community is limited. Nevertheless, the University will attempt
         to take appropriate actions. Complaints against guest lecturers, volunteers, contractors and visitors will
         be referred to the Office of Civil Rights and Title IX for investigation and appropriate action.

         When conducting the investigation under this Procedure, the University's primary focus will be on
         addressing the sexual misconduct. Other policy violations discovered may be referred to another
         process.

         A. Initial Inquiry

             Once the Office of Civil Rights and Title IX receives notice of sexual misconduct, an Investigator
             (“Investigator”) will conduct an initial inquiry. Where the respondent (i.e., the accused) is an
             employee, the Office of Civil Rights and Title IX will coordinate the initial inquiry with a chair, dean,
             director, supervisor, responsibility center head, or designee. For all other cases, the Investigator
             will continue to conduct an initial inquiry which generally includes interviews with the complainant,
             the respondent, a chair, dean, director, supervisor, responsibility center head, or designee, and
             sometimes a review of relevant documents.

             The Investigator will then determine whether the information gathered indicates that the complaint
             falls within the Policy. If it is determined that the complaint falls within the Policy, the Investigator
             will determine whether the process should proceed to the Informal Process, the Formal Process,
             or another University process. The Investigator will make this determination by reviewing several
             factors including:

             1. The wishes of the complainant and the respondent;
             2. Consideration of a pattern of behavior; and
             3. The nature and severity of the behavior or action.

             A decision will then be made as to the appropriate next steps to bring resolution to the complaint,
             which will include one of the following:

             1.   Formal Process;
             2.   Informal Process;
             3.   Another University process; or
             4.   End the process.

             The complainant and the respondent will be informed promptly upon an initial inquiry
             determination by the Investigator. If it is found that the complaint does not fall within the Policy, the
             reported matter, and other possible policy violations discovered during the inquiry (including any
             relevant information), may be referred to other University processes.




1 As noted in Section I of Policy CS 20, to the extent any prohibited conduct described herein would otherwise

constitute “Sexual Harassment” as specifically defined under Policy CS 27, Title IX, all such conduct will be
addressed under Policy CS 27 and its accompanying procedure. Any reference to “sexual harassment” herein is
solely related to that term as it is treated under this Policy and Process.

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B. Interim University Measures or Actions

    In addition to conducting an initial inquiry, the Investigator may need to facilitate the
    implementation of interim actions or measures to protect the safety and well-being of the
    individuals involved in a complaint of sexual misconduct. The University will consider interim or
    remedial measures, as appropriate or legally supported, to protect those involved. These
    measures will be implemented as promptly as possible. Generally, such actions include, but are
    not limited to, the following:

   1. Notify the respondent that a complaint has been made against him/her;
   2. Provide a copy of the Policy to both parties;
   3. Work with chair, dean, supervisor, responsibility center head, or designee to enter no contact
      orders. Failure to cooperate or honor no contact orders can result in restricting either party's
      presence on campus, and other disciplinary action;
   4. Institute alternative work arrangements, living arrangements, dining facilities, class schedule,
      or advisor/supervisor arrangements as feasible and appropriate during the pendency of the
      process, considering safety issues and concerns of the complainant and the respondent;
   5. For students, provide access to appropriate academic supports, such as tutoring, or
      permission to withdraw from or retake a class or classes;
   6. Have each of the parties and any witnesses acknowledge the expectation of
      confidentiality as outlined in this Procedure;
   7. Advise all parties and any witnesses that they may not retaliate against any party or any
      witness involved in a sexual misconduct complaint.
   8. Notify the chair, dean, director, supervisor, responsibility center head, or designee of the
      complaint to assist with managing the rights of the complainant and the respondent as
      appropriate.

    The University has the right to impose an interim separation or suspension, consistent with other
    University handbooks, policies or procedures, or the Student Code of Conduct.

C. Role of the Investigator

    As stated in the Initial Inquiry section above, in most cases, the Investigator will conduct an initial
    inquiry in conjunction with the chair, dean, director, supervisor, responsibility center head, or
    designee. Where the case does not proceed under the Student Code of Conduct, and where the
    initial inquiry indicates that the allegations rightfully fall under the Policy, the role of the Investigator
    will generally be to provide the parties with resource information, to assist with interim measures,
    and/or to conduct a prompt and thorough investigation of the complaint. Most investigations
    involve identifying and interviewing witnesses, gathering relevant documentation, and identifying
    other relevant information.

    Depending on the number of ongoing investigations and/or the nature and complexity of the
    complaint, the Office of Civil Rights and Title IX may investigate or refer the matter to an
    appropriately trained investigator.

    All members of the University community are encouraged to cooperate and participate in inquiries
    and investigations, appear before a hearing panel as requested, and cooperate with resolutions of
    complaints and implementations of recommended sanctions as applicable. Pursuant to the Student
    Code of Conduct, students may be required to cooperate and participate.




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D. University Role to Address Violations of Policy Via Formal Process

   The University may address violations of the Policy in instances in which the complainant is not
   willing to bring a complaint and the University determines it is necessary to proceed with a formal
   process under the Policy. Any member of the University community may proceed through a
   Student Code of Conduct process or the process outlined herein. The filing party shall have the
   same rights and responsibilities as the complainant as outlined in this Procedure or the Student
   Code of Conduct.

E. The Informal Process

   The informal process is an opportunity to bring resolution to a complaint through awareness,
   education, and/or a facilitated discussion. The Office of Civil Rights and Title IX, in conjunction with
   the Student Conduct Officer, a chair, dean, director, supervisor, responsibility center head or
   designee, or the Office of Human Resources, coordinates the informal process. During an informal
   process, no formal investigation is conducted to determine whether the Policy has been violated.

    The informal process may only be used for alleged misconduct which does not involve sexual
    assault or violence.

    The complainant has the right to end the informal process and begin the formal process, if the
    complainant wishes to do so.

   1. Step 1: Facilitate Resolution
      The Investigator, in conjunction with the Student Conduct Officer, a chair, dean, director,
      supervisor, responsibility center head or designee, or the Office of Human Resources, uses the
      information gathered during the initial inquiry to facilitate an appropriate resolution to the
      complaint. The Investigator may determine that the informal process may be facilitated by an
      appropriate designee (e.g. for students, a Residential Coordinator or other designee; for staff,
      a Human Resource representative; for faculty, a chair, dean, director, supervisor, responsibility
      center head, or designee; or for Trustees, the Office of Civil Rights and Title IX or designee).
      The following are examples of possible options, one or more of which may be used to bring
      resolution to an informal complaint.

        a. Distribute a copy of the Policy to the respondent and/or the complainant and/or to the
             department or area whose behavior is being questioned;
        b. Educate the respondent or all parties regarding the Policy;
        c. Conduct a sexual misconduct educational workshop for the designated
             department/school/University organization;
        d.   Meet with the respondent to raise awareness about alleged inappropriate behavior and
             provide notice about possible University consequences;
        e.   Facilitated discussion with the agreement of the complainant, respondent, and the
             Investigator;
        f.   Institute alternative work arrangements, living arrangements, class schedule, dining
             facilities, or advisor/supervisor arrangements as feasible;
        g.   Provide access to appropriate academic supports, such as tutoring, or permission to
             withdraw from or retake a class or classes; and/or
        h.   Limit contact or impose a no contact order between respondent and complainant.




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   2. Step 2: Document Informal Resolution

       At the conclusion of the informal process, a letter summarizing the outcome(s) of the process
       will be sent by the Investigator to the complainant and respondent and other appropriate
       University officials.

       If the matter is not resolved to the satisfaction of the complainant or the respondent utilizing
       the informal process, and/or the Office of Civil Rights and Title IX determines the matter
       should be resolved through the formal process, the complainant, the respondent and/or the
       University may pursue the formal process. In such an instance, the complainant, the
       respondent and/or the University may request to utilize the formal process by submitting a
       written request to the Investigator within five (5) business days of the date of the receipt of the
       informal outcome letter.

F. The Formal Process

   The formal process for complaints of sexual misconduct depends largely on the identity of the
   respondent (i.e., the accused). The following general rules apply, although because of the
   complexity of the University, and the multiple roles people sometimes hold, the University retains
   the discretion to determine the appropriate process to apply. In addition, consistent with guidance
   from the Office of Civil Rights, students will not be members of hearing or appeal boards.

   1. For Student Respondent

       Where the responding party is a student, the formal process will be governed by the current
       process stated in the Student Code of Conduct. The current process shall always apply and is
       detailed and can be found at student conduct.pitt.edu.

       The Investigator may submit any documents gathered or produced in the initial inquiry during
       the Student Code of Conduct process, for consideration during any such process. Further,
       where the responding party is a student, the Investigator may proceed under the Student
       Code of Conduct and act as a witness in a Code process.

   2. For Respondents who are: Faculty, Staff, Post-Doctoral Associate/Scholar, Research
      Associate, Contract Employees, or Members of the Board of Trustees

       The Office of Civil Rights and Title IX, in conjunction with the Student Conduct Officer, a chair,
       dean, director, supervisor, responsibility center head, or designee, will conduct an
       investigation, to include witness interviews and review of other evidence. The function of the
       investigation is to determine whether the Policy has been violated and/or to recommend an
       appropriate sanction.

       The Investigator will create a report of findings indicating whether the Policy has been violated
       and the type of sexual misconduct violated as defined in the Policy and the reason for the
       finding, and recommended sanctions (if applicable). If the investigation establishes that the
       Policy was violated by a preponderance of the evidence, the Investigator and the appropriate
       administrator will determine recommended sanctions to be submitted for approval to the chair,
       dean, director, supervisor, responsibility center head, or designee. Sanctions will be based on
       the nature and severity of the offense and/or on prior violations of University policy. The
       Investigator will distribute, at the same time or as near the same time as feasible, an outcome
       letter to the complainant and to the respondent, and a full report will go to the chair, dean,




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              director, supervisor, responsibility center head, or designee. A copy of the report will be kept
              on file in the Office of Civil Rights and Title IX or other appropriate office.

              The Investigator will also notify the complainant and respondent of the right to appeal the
              determination and/or sanction, as provided in Section IV, Handling Appeals.

             Sanctions will not be imposed until the grievance process is complete, including, as
             applicable, until the time for an appeal of the outcome runs out or until a determination is made
             regarding any such appeal.

IV.   HANDLING APPEALS

      The appeals process followed depends on the identity of the respondent (i.e., the accused).

      A. For Student Respondent

          Where the responding party is a student, the appeals process will be governed by the current
          process stated in the Student Code of Conduct. The current process is detailed and can be found
          at student conduct.pitt.edu.

      B. For Faculty or Staff Respondent

          Where the responding party is a faculty or staff member, any appeal should be made to the
          Provost or Senior Vice Chancellor for Business and Operations.

          In cases where the recommended discipline involves early termination of appointment for cause,
          the procedure under the University Bylaws, and not this appeals process, applies. However, the
          substantive and procedural requirements under any applicable law, remain applicable.

          In other cases, the Provost or Senior Vice Chancellor will appoint an Appeals Board of three (3)
          individuals. Two members of the Appeals Board will be faculty who are members of the University
          Review Board (“URB”); the third member will be appointed by the Provost or Senior Vice
          Chancellor from the pool of individuals who have received appropriate training from the Office of
          Civil Rights and Title IX, and consistent with the employment status of the parties involved.
          Consistent with guidance from the Office of Civil Rights, students will not be members of hearing
          or appeal boards.

          Appeals must be submitted to the Office of the Provost or Senior Vice Chancellor within ten (10)
          business days of receipt of the written decision and must specify the grounds for the appeal. The
          Appeals Board shall not rehear or make a redetermination of the facts of the matter, but will
          review only whether the decision erred in one of three limited grounds on which an appeal may be
          filed, which are as follows:

          1. New information not available to the Investigator which, if available at the time of the
             investigation, would have significantly affected the decision;
          2. Evidence that established procedures were not followed in a manner that would have
             significantly affected the decision, and/or;
          3. The sanction(s) are substantially disproportionate to the severity of the violation.

          The Appeals Board determines whether the appeal submitted falls within one of the three grounds
          for appeal of a decision, reviews the report and sanctions to be imposed, and other relevant
          documents or statements.




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        Generally, if an Appeals Board finds that an appeal is valid in that either appeal basis #1
        (substantial new evidence was not available that would have affected the decision) or #2
        (evidence that established procedures were not allowed in a manner that would have affected the
        decision), the Appeals Board will refer the appeal back to the Investigator and appropriate
        administrator to remedy the issue.

        As for appeal basis #3 (the sanction was substantially disproportionate to the severity of the
        violation), the Appeals Board will make a recommendation to the Provost or Senior Vice
        Chancellor regarding the finding and the sanction based on a review of the existing written record.
        The sanction recommended by the Appeals Board may be different than the sanction
        recommended after the investigation, including a sanction that is greater than or lesser than the
        sanction initially recommended.

        Generally, the Appeals Board should complete its work within thirty (30) days.

        The Provost or Senior Vice Chancellor shall review the recommendation of the Appeals Board
        and make a final determination. That determination will be communicated in writing to the
        respondent, the complainant, the Investigator and to the appropriate administrators (e.g.,
        respondent's appropriate Responsibility Center Head).

        The Provost or Senior Vice Chancellor will generally respond within thirty (30) days of receiving the
        recommendation from the Appeals Board. The decision of the Provost or Senior Vice Chancellor
        shall be final.

V.   Appendix A: University & Community Resources

     A. University Resources for All Campuses

        Office of Civil Rights and
        Title IX
        titleixcoordinator@pitt.edu
        Office of Diversity and
        Inclusion
        2nd Floor Webster Hall
        4415 Forbes Ave.
        Pittsburgh, PA 15260
        412-648-7860 (8:30 am-5:00 pm, Monday-Friday)
        Life Solutions for Faculty & Staff
        http://www.hr.pitt.edu/lifesolutions

     B. Additional Resources for the Pittsburgh Campus

        University Counseling Center for Students
        Wellness Center
        2nd Floor, Nordenberg Hall
        412-648-7930 (8:30 a.m. to 5:00 p.m., Monday through Friday) 412-
        648-7859 (after business hours)




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   Student Health Service
   Wellness Center
   2nd Floor, Nordenberg Hall
   412-383-1800 (8:30 am-7:00 pm, Monday, Tuesday, Thursday 8:30 am-
   5:00 pm, Wednesday, Friday
   10:00 am-5:00 pm Saturday, fall/spring term only

   Office of Student Conduct
   738 William Pitt Union
   412-648-7910 (8:30 am-5:00 pm, Monday-Friday)

   University of Pittsburgh Police Department
   3412 Forbes Avenue
   412-624-2121 (emergency, non-campus phone)
   412-624-4040 (non-emergency number)
   http://www.police.pitt.edu

   On-Campus Emergency
   412-624-2121 (or 4-2121 from a campus phone)

C. Additional Resources for the Regional Campuses

   University of Pittsburgh Bradford Resources
   Bradford Campus
   814-362-5121
   242 Hanley Library
   300 Campus Drive
   Bradford, PA 16701
   clclark@pitt.edu

   Bradford Campus Police
   814-362-3211
   300 Campus Drive
   Bradford, PA 16701

   Bradford Student Affairs Judicial Officer
   814-362-5084
   213 Frame-Westerberg Commons
   300 Campus Drive
   Bradford, PA 16701
   binder@pitt.edu

   Bradford Student Counseling and Health Services
   814-362-5272
   226 Frame-Westerberg Commons
   300 Campus Drive
   Bradford, PA 16701




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 University of Pittsburgh Greensburg Resources

 Greensburg Campus
 724-836-9902
 150 Finoli Drive
 108 Lynch Hall
 Greensburg, PA 15601
 msk59@pitt.edu

 Greensburg Campus Police
 724-836-9865
 150 Finoli Drive
 Greensburg, PA 15601-5860

 Greensburg Student Affairs Judicial Officer
 724-836-9954
 219F Chambers Hall
 150 Finoli Drive
 Greensburg, PA 15601
 leigh@pitt.edu

 Greensburg Student Counseling Services
 724-836-9870
 217 Chambers Hall
 150 Finoli Drive
 Greensburg, PA 15601-5860
 gaylep@pitt.edu

 University of Pittsburgh Johnstown Resources

 Johnstown Campus
 814-269-7070
 248 Blackington Hall
 450 Schoolhouse Road
 Johnstown PA 15904
 lpt@pitt.edu

 Johnstown Campus Police
 814-269-7005 (non-emergency)
 814-269-7222 (emergency)
 450 Schoolhouse Road
 Johnstown, PA 15904

 Johnstown Student Affairs Judicial Officer
 814-269-7062
 142 Union, Johnstown, PA 15904
 tshaffer@pitt.edu

 Johnstown Student Counseling Services
 814-269-7119
 G-10 Student Union
 450 School House Road
 Johnstown, PA 15904




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   University of Pittsburgh Titusville Resources



   Titusville Campus Police
   814-827-4488
   112 Davis Hall
   224 N. Brown Street
   Titusville, PA 16354


D. Community Resources

   Pittsburgh Action Against Rape
   1-866-363-7273 (24 hours)

   Center for Victims
   412-392-8582 (24 hours)

   Women’s Center and Shelter of Greater Pittsburgh
   412-687-8005

   Pittsburgh Bureau of Police
   911

   Magee-Womens Hospital of UPMC
   412-641-4933 (emergency room)

   UPMC Presbyterian Hospital
   412-647-3333 (emergency room)

   Allegheny County Health Department (Oakland)
   412-578-8080




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 Bradford, PA Community Resources

 Bradford YWCA / McKean County Victims’ Resource Center
 1-888-822-6325 (24 hours)

 The Guidance Center Crisis Intervention Line
 1-800-459-6568 (24 hours)

 Bradford Regional Medical Center Emergency
 Department: 814-362-8274 Women’s Health
 Services: 814-362-8480

 Greensburg, PA Community Resources

 Blackburn Center Against Domestic and Sexual Violence, Greensburg
 724-836-1122

 Westmoreland County Crisis Hotline
 1-800-836-6010

 Pennsylvania State Police for Hempfield Township
 724-832-3288

 Excela Health Westmoreland Hospital
 724-832-4355 (emergency room)

 Johnstown, PA Community Resources

 Victim Services, Inc. of Johnstown
 814-288-4961 or 1-800-755-1983

 Women’s Help Center of Johnstown
 814-536-5361 or 1-800-999-7406

 Richland Township Police Department
 814-266-8333

 Conemaugh Memorial Medical Center
 814-534-9100 (emergency room)

 Windber Medical Center
 814-467-3719 (emergency room)

 Titusville, PA Community Resources

 Titusville Area Hospital
 814-827-1851

 PPC Violence Free Network
 1-800-243-4944 (24 hours)

 Women’s Services Titusville
 814-333-9766 (24 hours)




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VI.   Appendix B: Confidentiality

      A. Employee Types and Their Confidentiality Responsibilities

          Different employees on campus have different abilities to maintain a victim’s confidentiality.

         1. Privileged and Confidential Communications for Professional and Pastoral Counselors:
            Professional, licensed counselors and pastoral counselors who provide mental-health
            counseling to members of the University community (and including those who act in that role
            under the supervision of a licensed counselor) are not required to report any information about
            an incident to the Title IX Coordinator without a victim’s permission.

              Contact information for professional and pastoral counselors:

                      University of Pittsburgh Association of Chaplaincies:
                      http://www.pitt.edu/~chaplain/

         2. Privileged and Confidential Communications for Medical Staff and Counselors:
            Individuals who work or volunteer on-campus in the Student Health Service or University
            Counseling Center, including front desk staff and students, can generally talk to a victim
            without having to reveal any personally identifying information about an incident to the
            University. A victim can seek assistance and support from these individuals without triggering
            a University investigation that could reveal the victim’s identity or that the victim has disclosed
            the incident, unless required by Pennsylvania law.

              While maintaining a victim’s confidentiality, these individuals or their office should report the
              nature, date, time, and general location of an incident to the Title IX Coordinator. This limited
              report – which includes no information that would directly or indirectly identify the victim –
              helps keep the Title IX Coordinator informed of the general extent and nature of sexual
              violence on and off campus so the coordinator can track patterns, evaluate the scope of the
              problem, and formulate appropriate campus-wide responses.

              Before reporting any information to the Title IX Coordinator, these individuals will consult with
              the victim to ensure that no personally identifying details are shared with the Title IX
              Coordinator. Contact information for the medical staff and counselors is provided below.

              For the Pittsburgh Campus:

                  Student Health Service
                  Call 412-383-1800 to schedule an appointment

                  University Counseling Center
                  412-648-7930 (8:30 a.m. to 5:00 p.m., Monday through Friday) 412-
                  648-7859 (after business hours)




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        For the Regional Campuses:

            Bradford Student Counseling and               Titusville Counseling and Student
               Health Services                                Development

            814-362-5272                                  814-827-4465
            226 Frame-Westerberg Commons                  J. Curtis McKinney Student Union
            300 Campus Drive                              504 E. Main Street
            Bradford, PA 16701                            Titusville, PA 16354


            Greensburg Student Counseling                 Johnstown Student Counseling
              Services                                       Services

            724-836-9870                                  814-269-7119
            217 Chambers Hall                             G-10 Student Union
            150 Finoli Drive                              450 School House Road
            Greensburg, PA 15601-5860                     Johnstown, PA 15904
            gaylep@pitt.edu



        NOTE: While these professional and non-professional counselors and medical staff may
        maintain a victim’s confidentiality vis-à-vis the University, they may have reporting or other
        obligations under state law. For example, Pennsylvania law requires mandatory reporting to
        law enforcement in case of minors (anyone under the age of 18) and certain crimes.

       ALSO NOTE: If the University determines that the alleged perpetrator(s) pose a serious and
       immediate threat to the University community the Department of Public Safety may be called
       upon to issue a timely warning to the community. Any such warning should not include any
       information that identifies the victim.

   3. Reporting to “Responsible Employees” and Confidentiality. Please refer to Section
      VII in the Sexual Misconduct Policy 06-05-01.

B. Requesting Confidentiality from the University: How the University will Weigh the Request
    and Respond

   1. In Cases of Sexual Violence

        As explained and defined in the Sexual Misconduct Policy in Section IV.B., sexual violence is
        a subset of sexual misconduct. If a victim discloses an incident of sexual violence to a
        responsible employee but wishes to maintain confidentiality or requests that no investigation
        into a particular incident be conducted or disciplinary action taken, the University must weigh
        that request against the University’s obligation to provide a safe, non-discriminatory
        environment for all, including the victim.

        If the University honors the request for confidentiality, a victim must understand that the
        University’s ability to meaningfully investigate the incident and pursue disciplinary action
        against the alleged perpetrator(s) may be limited. There are times when the University may
        not be able to honor a victim’s request in order to provide a safe, non- discriminatory
        environment for all.




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       The University has designated its Office of Civil Rights and Title IXto evaluate requests for
       confidentiality once a responsible employee is on notice of alleged sexual violence. When
       weighing a victim’s request for confidentiality or that no investigation or discipline be
       pursued, the Office of Civil Rights and Title IXwill consider a range of factors, including the
       following:

           The increased risk that the alleged perpetrator will commit additional acts of sexual or
           other violence, such as: whether there have been other sexual violence complaints
           about the same alleged perpetrator; whether the alleged perpetrator has a history of
           arrests or records from a prior University indicating a history of violence; whether the
           alleged perpetrator threatened further sexual violence or other violence against the
           victim or others; whether the sexual violence was committed by multiple perpetrators;
           whether the sexual violence was perpetrated with a weapon; whether the victim is a
           minor; whether the University possesses other means to obtain relevant evidence of
           the sexual violence (e.g., from security cameras or personnel, or from physical
           evidence); whether the victim’s report reveals a pattern of perpetration (e.g., via illicit
           use of drugs or alcohol) at a given location or by a particular group, and whether the
           perpetrator is a University employee.

       The presence of one or more of these factors could lead the University to investigate and, if
       appropriate, pursue disciplinary action. If none of these factors is present, the University will
       likely respect the victim’s request for confidentiality. If the University determines that it cannot
       maintain a victim’s confidentiality, the University will inform the victim prior to starting an
       investigation, take immediate action as necessary to protect and assist the victim and will, to
       the extent possible, only share information with people responsible for handling the
       University’s response. Retaliation against the victim, whether by students or University
       employees, will not be tolerated.

   2. In Other Cases of Sexual Misconduct

       As explained and defined in the Sexual Misconduct Policy Section IV.A. and C., sexual
       misconduct can include many actions, many of which do not involve sexual violence. While the
       University cannot promise complete confidentiality in its handling of these complaints, the
       University makes reasonable efforts to handle inquiries, complaints and related proceedings in
       a discrete manner. Each situation is resolved as discreetly as possible, with information shared
       with those who need to know in order to investigate and resolve the matter. In certain
       circumstances, the University may be able to address concerns and stop the behavior without
       revealing a complainant’s identity to the alleged perpetrator. However, this is not possible in
       every matter, as some situations require the disclosure of the complainant's identity in order to
       investigate the matter and/or to enable the accused perpetrator the ability to respond to the
       allegations against him or her.

C. Public Awareness Events and Other Reporting Exceptions

   Events such as “Take Back the Night,” the Clothesline Project, candlelight vigils, class papers,
   research participation, protests, “survivor speak outs” or other forums in which students disclose
   incidents of sexual violence, are not considered notice to the University of sexual violence for
   purposes of triggering its obligation to investigate any particular incident(s).




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       D. Parental/Legal Guardian/Partner Information

          In some instances when there is a serious health or safety concern, the University may need to
          notify the parent(s), guardian(s), or partner of the affected individuals. In making this
          determination, the University will consider the wishes of those involved, as well as their personal
          safety, and the safety of the campus community.

          The University may also contact the parent(s) or guardian(s) of a dependent student when there
          is a concerning behavioral pattern or a change in student status. In addition, when a person who
          is under the age of 18, reports sexual misconduct, both Designated Reporting Representatives
          and confidential sources may be required to report the sexual misconduct to the appropriate
          social service agency or the police who then may contact the parent or legal guardian.

VII.   Appendix C: Other Relevant Considerations

       A. Retaliation

          Please refer to Section VIII in the Sexual Misconduct Policy 06-05-01.

       B. Responsible Action Protocol

          The welfare and safety of our community is of paramount importance. The University encourages
          community members to offer help and assistance to others in need.

          Sometimes individuals are hesitant to offer assistance to others for fear that they will be subject
          to sanctions for other policy violations (e.g. alcohol violations). While serious policy violations
          cannot be overlooked, the University will consider providing educational options or training rather
          than sanctions as an appropriate response to those who have offered assistance.

          Because the University understands that fear of possible actions may deter requests for
          emergency assistance or reporting, the University has adopted a Responsible Action Protocol to
          alleviate such concerns and promote responsible action on the part of students.

          In accordance with Commonwealth of Pennsylvania law, a student under age 21 would be
          protected from prosecution for the possession or consumption of alcoholic beverages if law
          enforcement, including campus police, became aware of the possession or consumption solely
          because the student was seeking medical assistance for someone else. The University has
          extended the policy behind this law to cover not only exemption from criminal prosecution but
          exemption from initiation of student judicial board action as well. This applies to the student
          seeking medical assistance for another person and to the victims of sexual assault. Under the
          Responsible Action Protocol, the reporting student will be exempt from alcohol violations, but not
          from disciplinary violations relating to any other criminal activity such as assault, property damage
          or presence of other illicit substances.

          Students who seek protection under the Responsible Action Protocol may be required to meet with a
          University official to discuss the situation.




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C. Intention vs. Impact

    The fact that someone did not intend to engage in sexual misconduct against an individual is not
    considered a sufficient response to a complaint of sexual misconduct. For example, in some
    instances, cultural differences may play a role in the interpretation of behavior, by either the
    complainant or respondent, which may result in a complaint of sexual misconduct. It is expected
    that all members of the University community are knowledgeable about what constitutes sexual
    misconduct under this policy. Although the respondent's perceptions will be considered, in most
    cases, it is the effect and characteristics of the behavior on the complainant, and whether a
    reasonable person in a similar situation would find the conduct offensive that determine whether
    the behavior constitutes sexual misconduct.

D. Federal Statistical Reporting Obligations

    In compliance with the Clery Act (Campus Crime Statistics Act), Designated Reporting
    Representatives are required to report to University Police sexual misconduct that constitutes a
    crime. In addition, anonymous reports and de-identified reports of crimes from confidential support
    resources received by the University Police are also included in the Clery Act Report. Typically, the
    following information is included: crime, date, location, and status (i.e. student, faculty, staff,
    stranger, etc.) of the individuals involved in the crime. The University never includes the names of
    the complainant or the respondent in crime statistics.

    When a complaint of sexual misconduct is made that may also constitute a criminal act, the
    University will inform the complainant of the right to file a criminal complaint.

E. Federal Timely Warning Obligations

    Once a report of any crime is made, the University is obligated by law to take all necessary steps
    to protect the campus and the person who has experienced the misconduct. This may include
    alerting the campus of crimes that it determines poses a substantial threat of bodily harm or
    danger to members of the campus community. In making such determinations, the University will
    consider the safety of students, faculty, and staff as well as the privacy interests of all persons
    involved in such incidents.

    Regardless of the action taken by the University, the University will make every effort to ensure
    that a victim's name and other identifying information is not disclosed, while still providing enough
    information for community members to take safety precautions. For more information, see Section
    IV Confidentiality.




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